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IN THE UNITEB STA'I`ES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

IN RE:

Casc No. 18-10134-JDL

HOWARD LEE SHERWAN Chapter 13

Debtor.

RESPONSE TO DEFENDANT’S MOTI()N FOR DETERMINATION OF FEES,
EXPENSES OR CHARGES PURSUANT TO RULE 3002.1 (E)

C{)MES NOW, BOKF, N.A. (“BOKF”) and responds to the Debtors Motion for
Determination of liees, Expenses or Charges Pursuant to Rule 3002.1 (E), regarding a post~petition
fees in support of this response, BOKF states as follows:

l. BOKF holds the first moitgage on the debtor’s primary residence 'I`he debtor’s plan, filed
on January 12, 2018, provided for payment of the first mortgage to Bank of Oklahoma
l\/lottgage. 'l`he mortgage was treated as a long~term debt extending beyond the terms of the
plan.

2. Ciaim number 5 Was filed on February 2l , 2913. "l`herein, the amount claimed Was
$71,663.89, with a claimed arrearage of$2,257.18. On March 2, 2018 BOKF filed a Notice
of Post-Petition. Mortgage Fees, Expenses and Charges that included an attorney fee charge
for a Proot` of Claim in the amount of $650.00.

3. The Chapter 13 Plan Was confirmed on l\/Iarch 30, 2{}l8. Payments on the first mortgage via
the Chapter 13 Trustee commenced shortly thereafter and have been made since that time.

A. THE MORTGAGE EXECUTED BY BoRRoWER CLEARLY AUTHORLZES 'z‘z»is ATTORNEY
FEES SOUGHT.

lt is fundamental that absent statute or contract attorney’s fees may not be recoverablel

Attorney fees are recoverable under the subject mortgage 'l`he mortgage2 at paragraph 9, entitled,

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“Protection of Lender’s lnterest in the Property and Rights Under this Security lnstrurnent”
allows the award of Attorney Fees. Therein it states:

9. Protection of Lender’s Interest in the Property and Rights finder this
Secnrity Instrument. If` (a) Borrower fails to perform the covenants and
agreements contained in this Security lnstrument, (b) there is a legal proceeding
that might significantly affect Lender’s interest in the Property and/or rights under
this Security lnstrunient...then Lender may do and pay for Whatever is reasonable
or appropriate to protect Lender’s interest in the Property and rights under this
Security instrument Lender’s actions can include but are not limited to: ...(b)
appearing in court; and ( c) paying reasonable attorney’s fees to protect its interest
in the property or rights under this Security Instrument...Any amounts disbursed by
Lender under this Section 9 shall become additional debt of Borrower secured by
this Security lnstrurnent.

(See Exhil)it “1,” Mortgage, at Paragraph 9). Further, the mortgage, at paragraph l4,
entitled, “Loan Charges” allows the award of Attorney Fees. Tlierein it states:
14. Loan Charges. Lender may charge Borrower fees for services performed
in connection With Borrower’s default, for the purpose of protecting Lender’s
interest in the Property and rights under this Security Instrument, including, but
not limited to, attorney’s fees
(See Exllibit “1” Mortgage, at Paragraph 14).
B. Tna Fnss Ans RnAsoNAet,n lenN ran Wom< NECESSARY To PREPARE A PRooF or
CLAIM Wz“rn A 410A ATTACHMENT.
fn addition to being recoverable attorney fees must be reasonable ln order to obtain an
award for services an attorney must establish several factors which include, the difficulty of the
case, the expertise of counsel, the risks involved and the results achieved 'l`hompson v. Andover
QM, 691 P. 2d 77 (Okla. Civ. App. 1984).
The reasonableness of award of attorney’s fees is judged on a number of factors 'l`liose
factors are:
l. The time and labor involved;

2. Tlie novelty and difficultly of the case;
3. The skill requisite to perform the case;

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4 The preclusion of other employinent;

5. The customary fee to be charged;

6. Whether the fee is fixed or contingent;

7 The time limitations imposed by the circumstances of the case;

8. The amounts involved and the results achieved;

9. The experience of the attorney;

lO. The undesirability of the case;

ll. The nature and length of the relationship with the client;

l2. The amount of awards in similar cases;

State ex rel. Burl< v. Citv of Oklahoma City, 598 P.2d 659 (Oltla. 1979).

'I`he amount of $650.00 is recoverable and reasonable given the research, review and
financial calculations that were required to prepare a Proof of Claim, and the amount of required
actions of BOKF’s counsel

The time and labor required in this case is detailed in time records attached hereto. (See
Exhibit “2,” Affldavits and Exhibit “3,” Time Records) 3275.00 per hour, which is reasonable
in the industry (See Exhil)it “2,” Afiidavits and Exhibit “3,” Tixne Records).

This case required attorneys with skill and expertise in bankruptcy and residential lending
Attorney, Bret D. Davis has worked in the matters related to the subject property and debt and has
been a member of the Oklahoma Bar Association since 1993. Mr. Davis has participated and tried
cases involving complex commercial bankruptcy, and real estate issues. The fee of $275.00, per
hour for the firm Lamun l\/lock Cunnyngham & Davis, P.C. is reasonable

All work done Was required to preserve BOKF’s valid contractual interest in the subject
property

WHEREFORE all premises considered, BOKF, prays for an Order approving the amount

of attorney fees and litigation costs in the total amount of $650.00, and for such further relief as

deemed proper by the Court.

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/s/ Bret D. Davis

BRET D. DAVIS, OBA #15()79

LAMUN MOCK CUNNYNGHAM & DAVIS
5613 N. Classen Blvd..

Oklahoma City, OK 73118

(405) 840~5900 phone (405) 842-6132 fax
bdavis@lamunrnock.com

Attorneys for BOKF

CERTIFICATE OF SERVICE

1 hereby certify that on the 15th day ot`February 2019, l mailed a true and correct copy of the
above and foregoing pleading, with fully postage prepaid thereon to:

.lason A. Sansone, Esq.
Sansone Howell PLLC
4600 se 29th st_, sane 500
Del City, OK 731 15
Attorney for Debtor

John T. Hardeman
PO Box 1948
Ol<lahonia City, OK 73101

U.S. Trustee

United States Trustee

United States 'l`rustee

215 Dean A. McGee Ave., 4th Fioor
Oklahotna City, OK 73102

l hereby certify that on the 15th day of February, 2018, l electronically transmitted the foregoing
documents to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants:

Jason A. Sansone .lSansone@Sansonel~lowell.Com
John T. l~lardeman 13Trusteet’d)chpl301<c.com
U.S. Ti'ustee Ustpregion20.oc.ecf!usdoi.gov

/s/ Bret D. Davis
BRET D. DAVIS, OBA #15079

Case: 18-10134

(E'age]. of 19)

CAPITOL ABSTRACT & TITLB CO
3401 NW GBRD ST ,.STB 300
OKLAHOMA CH'Y, OK 73116

 

Return To:

BOK?, m DBA'Bank of Oklahoma
PtO. Box 35688
Tulaa, OK 74153

Prepared By:

Lorri Bogges

4005 NW Expressway

Suite 100 ,
oklahoma Cit,y, OK 73116

 

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MORTGAGE

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Forrest ‘Buft:h' Frccman
Okla Co. Treasurer

By TASHLEY Deputy

DBFIN]TIONS

Words used in maitlple sections of this document are defined below and other words are defined in
Scctions 3,11,13,18,2£3 and 21 Cenain rules regarding the usage of words used m this document are

also provided m Section 16.

(A) "Se:arlty lastrument" means this document which is dated october 24, 2014

together with all Rlders to this document

(B) "Borrower" is norman L snem~mn, n single susan

Bon:ower is the mortgagor under this Sectu'ity beauman

 

OKLAHOMA-Sing|e Famin-Fannie Mae.l¥r€ddie Mac UNIFORM |NSTRUMENT

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VMP Mcr!gage Solut!-ons, lnc.

 

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(C) "Lender" is BOKF, Nn cna sank of oklahoma

Lertder isa National Bank:i.ng nasoc.iation
organized and existing under thc iaws of The Unitcd Stat:es of` Amor:ioa
Lender’s address is P.O. non 35688, Tulsa, OK 74153

Lendcr is the mortgagee under this .‘_iecnrit;,t instrument

(D) "Note” means the promissoryl note signed by Borrowcr and dated Octobar 24 , 2014

The Note states that Bcrrower owes Lender seventy seven Thousand wine annexed And
Zez:oj' 100 Dollars
(U.S. $ 'l’? , 909 . OO } pins interest Borrower has promised to pay this debt in regular Pcriodic
Payrnents and to pay the debt in felt not later than November 01 ,. 2034 ,

(E) "Propcrty" means the property that is described below under the heading "Trar\sfcr of Rights in the
Property.“

(F) "Loan" means the debt evidenced by the Notc, pins interest, any prepayment charges and late charges
due under the Note, and all sums due trader this Secnrity tnstrnuient, plus interest

(G) "Ridcrs" means ali Riders to this Secarity instalment that are executed by Borrcwer. Thc following
Riders arc to be executed by Borrowcr {cl\ecl-r box as applicablc]:

[::§ Adjustable Rate Rider {:l Condorninium Rider m Secoud Homc Ridcr
Balioon Rider :l Plartned Unr't Development Ridcr m 1-4 Familj,= Rider
i:i VA Rider i:l Biweekly Pa_vrnertt Rider |::i Otiter(s} {specify]

(H) "Applieahle Lan"' means atl controlling applicable fcdcral, state and local statutes, regelatit.msl
ordinances and administrative rules and orders (that have the effect of iaw} as well as all applicable iina],
non-appealable judicial opinions

(I) "Comrnunity Associarion Ducs, Fees, and Assessments" means all ducs, fees, assessments and other
charges that arc imposed on Borrowcr or the Property by a condominium association homeowners
association or similar organization

{.J) "Elcctronic Funds Transi'cr" means anyf transfer of funds other than a transaction originated by
check draft, or similar paper instmmcnt, which is initiated through an electronic terminat, telephonic
instrument, computer, or magnetic tape so as to order, iristrnct, or authorize a financial institution to debit
or credit an account Such term ioclndes, but is not limited to, point-of-safe transfers automated teller
machine transactions transfers initiated by telephone wire transfers, and articulated clearinghouse
transfers

{K) "Escrow Izcms" means those items that are described in Scction 3..

(L) "Misccilanoous ?rocoetls" means any compensation settlemcnt, ati'ard of damages7 or proceeds paid
by any third party (other than insurance proceeds paid under the coverages described in Scction 5) lotz (i)
damage to, or destruction ol`, the Property; (ii) condemnation or other taking of all or any part of the
Propcrty; {iii) conveyance in lieu of condcrnnation~, or {iv) misrepresentations of, cr omissions as to, thc
value andfor condition of the Propcrty.

(M) "Mortgage Insurancc" means insurance protecting Lcnder against the nonpayment of, or default on,
the Loan.

(N) "Periodic Payment” means the regularly schednleri amount due for (i) principal and interest trader the
Note, plus (ii) any amounts under Scction 3 of this Security lnstrorrtent.

   

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(O) "RESPA" means the Real Estate Setttement Procedures not {12 U.S.C. Seotion 2601 et seq.) and its
implementing regulation, Regu!ation X (12 C.F.R. Part 1024), as ther might be amended from time to
time, or an;~r additionat~ or successor legislation or regulation that governs the same subject matter As used
in this Secar§ty Instronlent, "RESPA" refers to all requirements and restrictions that arc imposed in regard
to a "federaiiy related mortgage loan" even if the Loan does not qualify as a "i`ederatty related mortgage
ioan" under RESPA

(P) "Suo:essnr' m Intcrest of Borrower" means any party that has taken title to the Property, whether or
not that party has assumed Borrower‘s obligations under the Note and/or this Secority lnstntmcnt.

TRANSFER OF RIGHTS IN THE PROPERTY

This Securit}l Instrument' secures to Lender: (i) the repayment of the Loan, and atl renewais, extensions and
modifications of the Note; and (ii) thc performance of Borrower‘s covenants and agreements under this
Security lnstrornent and the Note. For this pnrposc, Borrower does hereby mortgagel grant and
convey to Lender, with power of saie, the following described property iocated in the
county of g oKLAHGMA '
[Typo of Recordiag Jurisdirnion] [Namc of Reeording Juristiiction]
Lot 313an ('7) , of Block E‘ifteen (15}, of MIDWEST HEIGHTS ADDITION_.
SECTION 3, to the City of Oklahoma Ci_ty, Oklahoma County, Olclahoma,
according to the recorded plat thereof.

Parcei ID Number: _ which currently has the address of
552a K.ElTx-r DR [sireet}
Oklahoma city [Cny}, Oklatioma '?3135 tzip coast

("Property Address"):

TOGETHER WET'H ali the improvements now or hereafter erected on the property, and ail
easements appurtenaneesl and fixtures now or hereafter a part of the propertyl AE] repiacements and
additions shati also be covered by this Security Instrument. All of the foregoing is referred to in this
Security Instrument as the "Prope '.“

BORROWER COVENANTS that Borro\ver is lan/felty seised of the estate hereby conveyed and has
the right to mortgage grant and convey the Prooerty and that the Propcrt_t' is unencumbered except for
encumbrances of record Borrower warrants and will defend generally the tide to the Propem' against ali
claims and demands subject to any encumbrances of record

‘T‘HiS SECURiTY INSI`RUMENT combines uniform covenants t`or national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform secnr' -' instrument covering real
propertyl

 

 

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UNLFORM COVENANTS. Borrower and bender covenant and agree as t`ollows:

]. Pnyrnent of Principa|, Interest, Escrctv Items, Prepnyrnent Chrtrges, and Lrttc Chnrges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due under the Notc and this Security instrument shall be made in U.S.
currency H o\vevcr, it any cheek or other instrument received by Lender as payment under the Note or this
Socurity instrument is returned to Lcnder unpaid, Lcnder may require that any or all subsequent payments
due under the Notc and this Security lnstntntent be made in one or more ot` the following t`orrns, as
selected by Lertder: (e} cash; (b) money order;. (c) certified check, brink check, treasurer’s cheek or
casltier's check, provided any such check is drawn upon an institution whose deposits arc insured by a
federal agency= instntmerttztiity, or entity', or (cl} Electrottic Funds Transfer,

Payments arc deemed received by bender when received at the location designated in the Note or at
such other location as may be designated by bender in accordance with the notice provisions in Sectiou lS.
Lender may return any payment or partial payment if tlte payment or partial payments arc insufficient to
bring the Loari current i.ender may accept any payment or partial payment insufficient to bring the Loztn
current, without waiver oi` any rights hereunder or prejudice to its rights to refuse such payment or partial
payments `in the future, but bender is not obligated to apply such payments at the time such payments arc
accepted if each Pcrioclie Paytnent is applied as of its scheduled due datc, then Lcnder need not pay
interest on unapplied funds Lender may hold such unapplicd J'unds until Borrotver makes payment to bring
the Lean current It" Borrower does nolde so within n reasonable period oi tinte, Lender shall either apply
such funds or return litem to Borrower. lt not applied earlier, such funds will be applied to the outstanding
principal balance under the Note immediately prior to foreclosure No offset or claim which Borrower
might have now or in the future against Lender shalt relieve Borrowcr from making payments dire under
the Note and this Security instrument or performing the covenants and agreements secured by this Sccurity
lnstrument.

2. Appliention of Pn_vmcnts er Pror:cetis. E.\'ccpi as otherwise described in this Seetion 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; {b) principal due under the Notc; (c) amounts due under Section 3. Such payments
shall be applied to each Pen'odie l’ayment in the order in which it became due. Arty remaining amounts
shell be applied first to late chargesl second to any other amounts due under this Sccurity Instrument, and
then to reduce the principal balance ol` the the.

ii l_.ender receives a payment from Borrowcr for a delinquent ?eriodic Payrnent which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
the late charge li` more than one Periodic Payntent is outstandingl bender may apply any payment received
from Borron'er to the repayment cl the F'eriodic l’aymcnts ii`, and to the extent that, each payment can be
paid in fuli. 'i`o the extent that any excess exists after the payment is appiied to the full payment of one or
more Periodie Payments1 such excess may be applied to any late charges due. Voluntary prepayments shall
be applied first to atty prepayment charges and then as described in the Note.

Arty application ot' payments1 insurance pro~'.:eeds1 or Miscellaneeus Proeceds to principal clue under
the Note shall not extend or postpone the due date. or change the amount, ei` the Pcriodie Paytnenls.

3. Funds for Eserow lterns. Borrotver shall pay to bender on the day Perioclic Payntents are due
under the Notc, until tire Note is paid in full, a sum (tlte "Fends") to provide for payment of amounts due
lor: (a] taxes and assessments and other items which can attain priority over this Secnrity lnstrumettt as a
lien or encumbrance on the Property', (b) leasehold payments or ground rents on the Propcrty, if uny; (e)
premiums for any and all insurance required by bender under Seetion 5; and (d) Mortgage insurance
premiums it' any, or any sums payable by Botre\ver to Lender in lieu ol` the payment ol' Mortgage
lnsurance premiums in accordance with the provisions oi` Sectiort l(). ’l`hese items are called “Escrew
Itetns.“ At origination or at any time during the term of the Lean, Lcndcr may require that Commnnity

   

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Association Dues, Fees, and Assessments, if any, be escrowed by Borrowct, and such dues, fees and
assessments shall be an Eserow Item. Borrower shall promptly furnish to l_.eudcr ali notices of amounts to
be paid under this Section4 Borrower shall pay Lender the l~`unds l`or Escrow items unless Lendcr waives
Borrower's Obligation to pay the Funds for any or all Escrow ltcms. Lender may waive Borrower's
obligation to pay to Lender Funds for any or all Bserow Items at any tirne. Any such waiver may only be
in \t#riting. In the event of such waiver, Borrower shall pay directly, when and where payablc, the amounts
due for any Escrow items for which payment of Funds has been waived by Lender and, if Lender requires,
shall furnish to Lcnder receipts evidencing such payment within such.time period as Lender may require
Bo:ron'er's obligation to make such payments and to provide receipts§ shall i`or all purposes he deemed to t
be a covenant and agreement contained in this Security lnstroment, as tile phrase "cevenant and agreement"
is used in Section 9. Il` Borrower is obligated to pay Escrow ltems directly, pursuant to a waiver, and i
Borron'er fails to pay the amount due for an Escrow ltem, Lcnder may exercise its rights under Section 9 '
and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
mnount. Lender may revoke the waiver as to any or all Eserow items at any time by a notice given in §
accordance with Seetiott 15 and, upon such revocatiou, Borrower shall pay to Lendcr all Funds, and in _
such amounts, that are then required under this Section 3. . l

Lender may, at any time, collect and hold Funtis in an amount {a) stiFHcicnt to permit Lender to apply l
the Funds at the time specified under RESPA, and {b) not to exceed the maximum amount a lender can j
require under RESPA. Lender shall estimate the amount oi` Funds due on the basis of current date and
reasonable estimates of expenditures of future Escrow items or otherwise in accordance with Applicable
Law. .

The Funds shall be held in an institution whose deposits 'arc insured by a federal agency,
instrumentality, or entity (iuclndiug Lender, il` Leiider is an itistitutioir\vliose deposits are so insured) or in
any Federal Horne Loan Banlr. Lencter shall apply the Funds to pay the Escrow items no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the liscrour ltcrns, unless hender pays Borrower interest on the
Furtds and Applicable Law permits Lender to make such a charge Unl_ess an agreement is marie in writing
or Applical)lc Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
any interest or earnings on thc Funds. Borrower and Lender can agree in urritingd iion=e\.'er, that interest
shall be paid on the Funds. l..entier shall give to Borro\ver, without charger an annual accounting of the
Funds as required by RESl-"A. `

Ii’ there is a surplus ol` Funds held in escrow, as defined under RESPA, Lcnder shall account to
Borrower for the excess funds in accordance with RESPA. if there is a shortage of Funds held in escrow, §
as defined under RESPA, Lender shall notify Borrou'er as required by' RESPA, and Borrower shall pay to
Lender the amount necessary to make op the shortage in accordance with RESPA, hut in no more than 12
monthly payments if there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to L`entier the amount necessary to make
up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security ]nstru_ment, Lender shall promptly rolland
to Borrower any Funds held by Lendcr.

4. Chargcs; Liens. Borrower shall pay all taxes, assessments chargesl iines, and inipositions
attributable to the Propcrty which can attain priority over this Security lnstrurnent, leasehold payments or
ground rents on the Property, if any, and Community Assoeiatioit Dues, Fees, and Asscssments, if any. To
the extent that these items are Escrow ltcms, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Sccurity instrument unless
Borrower; {a) agrees in writinth the payment oi` the obligation secured by the lien in a nimmer acceptable
to Lender, but only so long as Borrower is performing such agreenient; (b} contests the lien in good faith

   

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by, or defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to
prevent the enforcement of the lien while those proceedings are pending but only until such proceedings
are concluded; or {e} secures from the holder of thc lien an agreement satisfactory to Lendcr subordinating
the lien lo this Security lustrument. lt Lendcr determines that any part ot the Property is subject to a lien
which can attain priority over this Security lnstrumcnt, Lender may give Borrower a notice identifying the
lierr. Within 10 days of the date on which that notice is given, Borrowcr shall satisfy the lien or take one or
more of the actions set foth above in this Scction 4.

Lcnder may require Borrotver lo pay a one-time charge for a real estate tax verification and/or
reporting service used by bender in connection with this Loan.

5. Property lnsu rance. Borro\ver shall keep the improvements now existing or hereafter erected on
thc Property insured against loss by lire, hazards included within the term "eirtended coverage," and any
other hazards including but not limited to, earthquakes and ileods, for which bender requires insurancel
Tlns insurance shall be maintained in the amounts tineluding deductible levels) and for the periods that
Lcnder requires What l.onder requires pursuant to thc preceding sentences can change during the term of
the bean 'l`he insurance carrier providing the insurance shall be chosen by Borrowcr subject to l..errder’s
right to disapprove Borrower’s clieice, which right shall not be exercised unreasonably Lertder may
require Borrewer to pay, in connection with this Loan, either: (a} a one-lime charge lot flood zone
deterrniruttionl codification and tracking scrviccs; or {b) a one~time charge l`or flood zone determination
and codification services and subsequent charges each lime rernappings or similar changes occur which
reasonably might affect such determination or certification Borrower shall also lie responsible for Lhc
payment of any fees imposed by the Federal Ernergency Management Agency in connection with the
review ol" any flood zone determination resulting irorn an objection by Borrower.

li Borrowcr fails to maintain any of the coverages described above, Lender may obtain insurance
coverage at Lender‘s option and Borrowcr's expense bender is under no obligation to purchase any

, particular type or amount of` coverage 'l`herei"orc, such coverage shall cover Lcnder, but might or might

net protect Borrower, Borrower's equity in the Property, or the contents ol` the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than was previously in cii`ect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained Any amounts disbursed by Lendcr under this Scction 5 shall
become additional debt of Borrower secured by this Sccurity lnstrum».':ntl 'l`ltese amounts shall bear interest
at the l~lotc rate l'rorn the date of disbursement and shall be payable with such irrterest, upon notice from
Lender to Borrower requesting payment

All insurance policies required by Lcnder and renewals of such policies shall he subject to Lcnder’s
right to disapprove Sueh policics, shall include a standard mortgage clause, and shall name Lendcr as
mortgagee auditor as an additional loss payee Lendcr shall have the right to hold the policies and renewal
certificates Ii` Lender requires, Borrowcr shall promptly give to Lender all receipts of paid premiums and
renewal noticcs. If` Borrower obtains any form of insurance coveragc, not otherwise required by Lendcr,
for damage to, or destruction of, the Propcrty, such policy shall include a standard mortgage clause and
shall name Lendcr as mortgagee and/or as an additional loss payee

In the event of loss, Borrower shall give prompt notice to the insurance carrier and bender Lendcr
may make proof of loss if not made promptly by Borrower. Unless Lendcr and Borrower otherwise agree
in writing, any insurance proceeds whether or not the underlying insurance was required by Lcnder, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lendcr’s securityf is not lessened During such repair and restoration period, Lender shall have tire right to
hold such insurance proceeds until Lerrder has had an opportunity to inspect such Property to ensure the
work has been completed to Lerrder's satisfaction provided that such inspection shall be undertaken
prornptl_v. l.cndcr may disburse proceeds for the repairs and restoration in a single payment or ina series
ol' progress payments as the work is completed U nless an agreement is made in writing or Applicable Law

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requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceedsl Fees for public rid_iusters, or other third parties retained by
Borrower shaii not be paid out of the insurance proceeds end shall be the sole obligation of Borrower_ It`
the restoration or repair is not economically feasible or Lendcr’s security would be lessened the insurance
proceeds shall bc applied to the sums secured by this Security instrument, whether or not then due, with
the excess, if any, paid to Borrower. Such insurance proceeds shall be:applied in the order provided for in
Scction 2_ ;

lt Borrower abandons the Property, Lender may iiie, negotiate and settle an_v available insurance
claim and related matters lf Borro\vcr does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a clairn, then Lendcr may negotiate and settie thc ciaim. Thc 30~day
period witt begin when the notice is giiten, in either event, or if Lender acquires the Propeny under
Scction 22 or otherwise, Borrower hereby assigns to Lender (a} Borrower's rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Securit_v lnstrumeut, and
(b) any other of Borrower's rights {other titan the right to an}r refund ot` unearned premiums paid by
Borrower) under oil insurance ooiicies covering the Property, insofar ns such rights are applicable to the
coverage of the Property, Lender may use the insurance proceeds either to repair or restore the Propertj,l or
to pay amounts unpaid under the Notc or this Security lnstrurnent, whether or not then due

6. 0ccupancy. Borrower shall occup_\*, establish and use the Propcrty as Borrower's principal
residence within 66 days after the execution of this Sccnrity instrument and shall continue to occupy the
Property as Borrower‘s principal residence for at least one year after the date of occupancy, uriiess Lerrder
otherwise agrees in writing, which consent shall not be unreasonably withhcid, or unicss extenuating
circumstances exist which are beyond Borrower‘s control .

7. Preservation, Mnintennnce and Protcction of the Pro}ierty; Inspections. Borrower shall not
destroy, damage or impair the Propcrty, allow the Property to deteriorate or commit waste on the
Property. Wbether or act Borrowcr is residing in the Property, Borrori‘er shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition Uniess it is
determined pursuant to Scction 5 that repair or restoration is not economically feasibie, Borrowcr shall
promptly repair the Propcrty ii` damaged to avoid further deterioration or damage lt insurance or
condemnation proceeds arc paid in connection with damage to, or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes Lcnder may disburse proceeds l`or the repairs and restoration in a single payment or in a series of
progress payments as the work is completed If the insurance or condemnation proceeds are not sufficient
to repair or restore the Prcpcrty, Borrower is not relieved ol" Borrower’s obligation for the companion of
such repair or restoration

Lender or its agent may make reasonable entries upon and inspections of the Property. It` it has
reasonable cause, bender may inspect the interior of the improvements on the Propert_v. Lender shall give
Borrowcr notice at thc time of or prior to such an interior inspection specifying such reasonable cause

8. Ilorrowcr‘s Loan A;rpiication. Borrower shall be in default ii, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower*s
knowledge or consent gave ntateriaity faisc, misleading or inaccurate information or statements to Lcndcr
(or failed to provide Lcnder with material information) in conneciion with tire Loan. Material
representations ioclude, but are not limited to, representations concerning Borrower's occupancy of the
Property as Borrower's principai residence

9. Protection of lrcndcr“s Intcrcst in the Pnopert_v and Rights Uutler this Security Iustrument. If
(a) Borrower fails to perform the covenants and agreements contained in this Security lnstrurnent, (b) there
is a legal proceeding that might significantly affect Lender's interest in the Propeny auditor rights under
this Security Instrnnient (such as a proceeding in bankruptcyl probate, for condemnation or forfeiture For
enforcement of a lien winch may attain priority over this Securit)l lnslrornent or to enforce laws or

    

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regulations), or {c) Borrower has abandoned the Property, then Lender may do and pay for whatever is '
reasonable or appropriate to protect Lender's interest in the Property and rights under this Securlty
lnstrument, including protecting andfor assessing the value of the Property, and securing auditor repairing
the Propotty. Lenciet"s actions can include, but are not limited to: (a} paying any sums secured by a lien
which has priority over this Securlty lnstrument; (b) appearing in court; and (c] paying reasonable
attorneys fees to protect its interest in the Property and/or rights under this Security lnstrurnent, including
its secured position in a bankruptcy proceeding Securing the Property includes, but is not limited to,
entering the Property to make repairs, change locks, replace or board up doors and windows drain water '
from pipes, eliminate building or other code violations or dangerous conditions and have utilities turned
on or off. Although Lcnder may take action under this Section 9, Lendcr does not have to do so and is not
under any dutyr or obligation to do so. lt is agreed that Leuder incurs no liability For not taking any or all
actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Sccurity instrument These amounts shall bear interest at the Note rate front the date of
disbursement and shall be payable with such interest upon notice from Lender to Borrower requesting
payment

Ii" this Security lrrstrunrent is orr a leasehold Borro\vcr shall comply with all the provisions oi` the
lease. It` Borrorver acquires fee title to the Propcrty, the leasehold and the fee title shail not merge unless
Lender agrees to the merger in writing

Itl. Mongnge Insurarrce. lf Lender required Mortgage insurance as a condition of making tire l_,oan,
Borrower shall pay the premiums required to maintain the Mortgage lnsurance in e£fect. lf, for any reason,
the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
previously provided streit insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage insurancex Borrower shall pay the premiums required to obtain z
coverage substantially equivalent to the Mortgage insurance previously in el’i`cct, at a cost substantially
equivalent to the cost to Borrowcr of the Mortgage }nsurance previously in effect, from an alternate
mortgage insurer selected by Lender. ll substantially equivalent Mortgage insurance coverage is nor
available Borrorver shall continue to pay to Lertdcr the amount of the separately designated payments that
were due when the insurance coverage ceased to be in effect Lender will accept, use and retain these
payments as a non~reftmdable loss reserve in lieu of l\dongage insurance Such loss reserve shall be
non-refundable, notwithstanding the fact that the Loan is u§timatcly paid in full, and Lender shall not be
required to pay Borrower any interest or earnings on such loss reserve Lcttder can no longer require loss
reserve payments if Mortgage insurance coverage (irr the amount and for the period that Lender reqrrires} '
provided by an insurer selected by Lender again becomes available is obtained, and lender requires y
separately designated payments toward tire premiums for Mortgage insurance lt Leuder required Mortgage '
lnsurancc as a condition of making the Loan and Borrower was required to make separately designated t
payments toward tire premiums for Mortgage lnsnrance, Borrowcr shall pay the premiums required to lt

maintain Mortgage insurance in effect, or to provide a norr»relunriable loss reserve, until Lender's
requirement for Mortgage insurance ends in accordance with any written agreement between Borrotver and
Lender providing for such termination or untii termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage lnsurance reimburses L-ender (or any entity that purchases the Notc) for certain losses it
may incur if Borrower does not repay the Loan as agreed Borro\ver is not a party to the Morlgage
insurance

ivlortgage insurers evaluate their total risk on all such insurance in force front time to tintc, and may
enter into agreements with other parties that share or modify their risl<, or reduce losses These agreements
are on terms and conditions that are satisfactory to the mortgage insurer and the other party {or parties] to g
these agreements Tlrese agreements may require the mortgage insurer to make payments using any source
of funds that the mortgage insurer may have available {wltielt may include funds obtained from Mortgage
insurance prentiums).

As a result of these agreements Lender, any purchaser of tire Note, another insurer, any reinsurer,
any other entity, or any affiliate ot" any of the foregoing may receive {direetiy or indirectly) amounts shut
derive from (or might be characterized as) a portion ol` Borrower‘s payments for Mortgage insurance1 in
exchange for sharing or modifying the mortgage insurer‘s risk, or reducing losses. lf such agreement

    

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provides that an affiliate of bender takes a share of the insureds risk in exchange for a share of the
premiums paid to the insuror, the arrangement is often termed "captivc reinsurancc." Furthcr:

(n) Any such agreements will not affect the amounts that Borrotvcr has agreed to pay for
Mortgagc Insurancc, or any other terms of thc Loan. Such agreements will not increase tire amount
Borrowcr will on'o for Mortgngc Insn rance, and they will not entitle Borrmver to anyl refuud.

(l)) Any such agreements will not affect the rights Borrowcr has - if any - with respect to thc
Mortgagc Insurancc under the llomeowncrs Protection Act oi' 1998 or any other la\v. Thcst: rights
may include the right to receive certain disclosurcs, to request and obtain cancellation of the
Mortgage lnsurance, to have the Mortgagc insurance terminated nutomatically, and/or to recoch n
refund of any Mortgagc insurance premiums that wore unearned at the time of such cancellation or
termination

11. Asslgnmcnt of Misccl|nncous Procccds; Forfciturc. All Misceilaneons Procecds are hereby
assigned to and shall bc paid to Lendcr\

lf thc Propcrty is damagcd, such Misccllaneous Prooceds shall be applied to restoration or repair of
tile Fropcrty, if thc restoration or repair is economically feasible and Lcndcr's security is not lessened
During such repair and restoration period, Lender shall have the right to hold such Misccilancons Procoods
until bender has had an opportunity to inspect such Propcn}' to ensure the ivori< has been completed to
Lcndcr's satisfactionJ provided that such inspection shall be undertaken promptl_v_ Lcndcr may pay for the
repairs and restoration in a single disbursement or in a series of progress payments as thc work is
completed Unlcss an agreement is made in writing or Applicablc Law requires interest to bc paid on such
Misceilancous Prococds, Lendcr shall not be required to pay Borrowcr any interest or earnings on such
Misccllancous Procceds. if the restoration or repair is not economicaily feasible or Lendcr's security wouid
be lesscncd, the Miscellancous Proceeds shall bc applied to thc sums secured by this Sccurity instrument
whether or not then duc, with thc excess, il` any, paid to Borrowcr_ Such Misccllancous Prooccds shall bc
applied in thc order provided for in Soction 2.

in tire event of a total taking, dcslruction, or loss in value of the Propcrty, the Miscellaneous
Procccds shall bc applied to thc sums secured by this Sccurit§.r lustrurncut, whether or not then duc, with
the cxccss, if any, paid to Borrowor.

In thc event of a partial taking, dcstruction, or loss in vaiuc of the Property in which the fair market
value of the Property immediately before thc partial takiug, destruction or loss in value is equal to or
greater than thc amount of the sums secured by this Security lnstrumcnt immediately before the partiai
taking, dcstruction1 or loss in valuc, unless Borrowcr and l_,cndcr otherwise agree in writing the sunn
secured by this Securit§r instrument shall be reduced b_v thc amount of the Misccllancons Procccds
multiplied by thc following fraction: (n) the total amount of the sums secured immediately before thc
partial taking, destruction7 or loss in value divided by (b) the fair market value of the Propcrty
immediately before thc partial laking, destruction or loss in vaiuc. Any balance shall be paid to Borrower.

ln thc event of a partial taking, dcslruction, or loss in value of thc Propcrty in which the fair market
value of thc Proporty immediately before thc partial taking dcstruction, or loss in value is loss than the
amount of the sums secured imnrcdintcl_v before thc partial taking, destruction or loss in valnc, unless
Borrower and Leudcr otherwise agree in u-riting, the Misccllaneous Procceds shall bc applied to tile sums
secured by this Sccurit;ir lnstnlrncnt whether or not the aims arc then due.

Ii` the Propcrty is abandoned `oy Borroivcr, or il`, after notice by Lender to Borro\vcr that thc
Opposing Party (as defined in thc next sculcnce) offers to make an award to settle a claim for damages
Borrowcr fails to respond to Lcndcr within 30 days after the date the notice is givon, Lcndcr is authorizcd
to collect and apply the Miscollnucous Procccds either to restoration or repair of the Property or to tire
sums secured by this Sccurit5l instruutcm, whether or not then duc. “Opposing Party" means the third partyl
that owes Borrowor Misccllaneons Procccds or the party against whom Borrower has n right of action in
regard to Misccllancous Proceeds.

Borrowcr shall be in default if any action or proceeding, whether civil or criminal, is begun lhnt, in
Lcndcr‘s judgnmnt1 could result in forfeiture of the Propertv or other material impairment of Lcndor's
intorcst in the property or rights under this Sccurit§r instrument Borrowcr can cure such a default and, if
acceleration has occurrod, reinstate as provided in Scction 19, by causing the action or proceeding to be
dismissed with a ruling thnt, in Lcndcr's judgmentl precluch forfeiture of thc Propcrt},l or other material

   

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impairment of Lender‘s interest in the Property or rights under this Security Instrnntent. 'i`he proceeds of
any award or claim for damages that are atln'butobie to the impairment of Lendcr' s interest in the Property
are hereby assigned and shail be paid to Lencler.

All Miscellaneous Procccds that arc not applied to restoration or repair oi` the Property shall be
applied in the order provided for in Section 2,

12. Borio\vcr Not Relcased; Forbearauee By lender hint a Wniver. Extcnsion of the time for
payment or modification of amortization of the sums secured by this Security lnstrument granted by Lender
to Borrower or any Succcssor in luterest of Borrotver shall not operate to release thc liability of Borrower
or any Successors in Interest of Borro\vcr. Lender shail not be required to commence proceedings against
any Succcssor in interest of Borro\ver or to refuse to extend time for payment or otherwise modify
amortization of the sums secured by this Security Instrument by reason ol" any demand made by the original
Borro'tver or any Successors in Interest of Borrorver. Any forbearance by Lendcr in exercising any right or
remedy including without limitation, l_.cnder's acceptance ol` payments front third persons: entities or
Successors in lntcrcst of Borrower or in amounts iess than the amount then due, shali not be a waiver of or
preclude the exercise of any right or remcd_','.

13. Joint and Severai Lial)ilit_v; Co-signeis; Successors and Assigns Bounrl. Eorrower covenants
and agrees that Borrowct's obligations and liability shall be joint and several However, any Borro\vcr wito
co-signs this Secun`ty lnstrurnent but does not execute the Note (a "co-signer"): (a) is rsc-signing this
Security instrument oni_v to mortgage1 grant and convey the co-signer‘s interest in the Property under the
terms of this Security Instruntent; (b} is not personally obligated to pay the sums secured by this Security
lnstroment; and (c) agrees that Lender and any other Borrotver can agree to extend, modify, forbear or
make any accommodations with regard to the terms ol` this Seeurity lnstrument or the Note without the
co~signer's consent

Subject to the provisions of Section lS, any Sncccssor in Interest ot` Borrower who assumes
Borrorver’s obligations under this Security instrument in writing and is approved by Lender, shall obtain
all of Borrower's rights and benefits under this Security Instrurnent. Borro\ver shall not be released front
Borrou'cr‘s obligations and liability under this Security instrument unless Lcnder agrees to such release in
writing 'i`he covenants and agreements of this Sectn'ity lnstrnntent shall bind {except as provided in
Scction 20) and benefit the successors and assigns ol` Lenrler\

14. Lorm Chnrges. Lender may charge Borron’er fees for services performed in connection with
Borrowcr`s default, for the purpose of protecting Lcndcr's interest in the Propert_v and rights under this
Security Instnnncnt, including hut not limited to, attorneys fees, property inspection and valuation fees.
in regard to any other fecs, the absence of express authority in this Securit~y instrument to charge a specific
fee to Borro\vcr shall not be construed as a prohibition on the charging of such fee Lender may not charge
fees that are expressly prohibited by this Secnrity instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, them {a) any such toan charge shall he reduced by the amount necessary to reduce the
charge to the permitted iirnit.; and (b} any sums already collected from Borrower which exceeded permitted
limits will bc refunded to Borrowcr. Lender may choose to make this refund by reducing the principal
owed under the Note or by making a direct payment to Borrower. if a refund reduces principai, the
reduction witt be treated as a patriot prepayment without any prepayment charge (ivhether or not a
prepayment charge is provided for under the Notc}` Borrower‘s acceptance of any such refund made by
direct payment to Borrower will constitute a waiver of any right of action Borrou'er might have arising out
of such overcharge

15. Notices. All notices given by Borrower or Lcnder in connection with this Secnn`ty lnstrun\cnt
must be in writing Except as otherwise required by Applicahie Law, any notice to Borrorver in connection
with this Security lustrument shall be deemed to have been given to Borrou-'cr when mailed by first class
mail or when actually delivered to Borro\ver's notice address ii sent by other rneans. Notice to any otto
Borrotver shall constitute notice to all Borro\vers untess Applicable Law expressly requires otherwise The
notice address shall be the Property Address unless Borrower has designated a substitute notice address by
notice to Lender. Borrower shalt promptly notify Lender ot` Borrower's change of address lf Lcnder
specifies a procedure for reporting Borro\vcr‘s c hange of address, then Borro\vcr shall only report a change
of address through that specified procedure Titere amy be only one designated notice address under this

    

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Sccurity instrument at any one t_imc. Any notice to Lendcr shall be given by delivering it or by mailing it
by first class mail to Lcndcr’s address stated herein unless l..endcr has designated another address by notice
to Borro\ver. An_v notice in connection with this Sccurity instrument shall not be deemed to have been
given to Lendcr until actually received by Lcnder, lt“ any notice required by this Sccurity Instrumcnt is also
required under Applicab|c Latv, the Applicablc Law requirement will satisfy the corresponding
requirement under this Sccurity lnstrumcnt.

]6. Governing Lmv; Sc\'crability; Rules of Constr'uction. Titis Secutity instrument shall be
governed by federal law and the law of the jurisdiction in which the Preperty is locatedl Aii rights and
obligations contained in this Sccurity instrument arc subject to any requirements and limitations of
Appiicabic Lttw. Applicabic La\v might c.\'piiciii_v or implicitly allow the parties to agree by Contract or it
might be silent, but such silence shall not be construed as a prohibition against agreement by contract in
the event that any provision or clause of this Sccurity instrument or the Notc conflicts with Applicable
La\v, such conflict shall not affect other provisions ot' this Security instrument cr the Note which can be
given effect without the conflicting provision

As used in this Security Instrument: (a) words of the maseulinc gender shall mean and include
corresponding neutcr words or words of the fentinine gondcr; (b) words in thc singular shall mean and
include the plural and vice versa; and te) the word "rnay" gives sole discretion without any obligation to
tai-cc any action

l?. Bon~ower's Copy. Borrower shall be given one copy ot` the Notc and of this Sccnrit_v instrument

18. Transt`er ol` the Propert_v or n Bcrtcficia| lntcrcst in Bor'ro\\'er. As used in this Scction JS,
"Intcrest in the Propcrty" means any legal or beneficial interest in the Propcrty, including, but not limited
to, those beneficial interests transferred in a bond for ticed, contract for deed, installment sales contract or
escrow agreentent` the intent of which is the transfer of title by Borrower at a future date to a purchases

If all or any part of the Propcrty or any Intercst in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lcndcr's prior
written consent, bender may require immediate payment in full of all sums secured by this Securiry
instrument Howcver, this option shall not be exercised by Lcndcr if such exercise is prohibited by
Applicable La\v.

lf Lcndcr exercises this option, Lender shall give Borrowcr notice of acceleration 'I`he notice shall
provide a period cf not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrowcr must pay all sums secured by this Sccurity instrument if Borrower fails to pay
these sums prior to the expiration of this period, bender may invoke any remedies permitted by this
Security lnstrumcnt without further notice or demand on Borrower.

19, Bormwer's Rigltt to Rcinstntc Aftcr Acccicrntion. ll` Borrower meets certain conditions
Borrowcr shall have the right to have enforcement of this Socun'ty lnstrunient discontinued at any time
prior to the earliest of: tel live days before sale of the Propcrty pursuant to any power of sale contained in
this Sccurity lnstrurncnt; (b} such other period as Applicablc Law might specify for the termination of
Borrowcr's right to reinstate; or (c) entry el` a judgment enforcing this Sccurity instrument Those
conditions are that Borrowcr: {a} pays Lender atl sums which then would be due under this Security
instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements (c} pays all expenses incurred in enforcing this Security lnstrumcnt, including but not limited
to, reasonable attorneysl fecs, property inspection and valuation fecs, and other fees incurred for the
purpose of protecting Lcndcr's interest in the Propcrty and rights under this Sccurity lnerumcnt; and (d)
takes such action as i..cnder may reasonably require to assure that Lcndcr's interest in the Propcrty and
rights under this Secority lustrurnent, and Borrower‘s obligation to pay the sums secured by this Seeurity
lnstrnment, shall continue unchanged Lcndcr may require that Borrowcr pay such reinstatement sunts and
expenses in one or more of the following forrns, as selected by Lender; (a) cash; {b} money order; {c)
certified check, bank checlt, treasurer's check or cashier’s eheck, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality or cntity; or (d) Elcctronic
Funds Transfcr. Upon reinstatement by Borrower, this Sccurity lnstruntent and obligations secured hereby
shall remain fully effective as if no acceleration had occurred l-Iowevcr, this right to reinstate shall not
apply in the case of acceleration under Scction lti.

ltl. Salc of Notc; Changc of Lcnn Scrviccr; Noiicc cf Gricvnncc. The Note or n partial interest in
the Note (togethcr with this Security Instrumcnt) can be sold one or more times without prior notice to

   

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Borrowcr. A sale might result in a change in the entityr {l<nown as the “Loan Servlcer") that collects
Periodic l’ayrnents due under the Note and this Sccnrit)' instrument and performs other mortgage loan
servicing obligations under the Note, this Sceuritj.l lnstrument, and Applicable l.a\v. There also might be
one or more changes of the Loan Scrvicer unrelated to a sale of the Note. If there is a change ot" the l.oan
Servicer, Borrower will be given written notice of the change which will state the name and address ol` the
new Loan Servicer, the address to which payments should be made and any other information R,ESPA
requires in connection with a notice of transfer ol` servicing ll` the Note is sold and thereafter tire Loan is
serviced by a Loan Serviccr other than the purchaser of tltc Notc, the mortgage loan servicing obligations
to Borrowcr will remain with the Loan Servicer or be transferred to a successor Loarr Servicer and are not
assumed by thc Notc purchaser unless otherwise provided by the Notc purclraser.

Neither Borrower nor Lcnder may comrnence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class] that arises front the other party's actions pursuant to this
Secun'ty instrument or that alleges that the other party has breached atty provision of, or any duty owed by
reason of, this Sectrrit)' lnstrurnent, until such Borrower or Lender has notified the other party (with such
notice given in compliance with the requirements ol` Section l$) of such alleged breach and allerch the
other part)f hereto a reasonable period after the giving of such notice to take corrective nction. ll
Applicable l_.aw provides a time period which must elapse before certain action can be taken, that time
period will be deemed to be reasonable for purposes of this paragraph The notice of acceleration and
opportunity to cure given to Borrower pursuant to Section 22 and the notice ot" acceleration given to
Borrowcr pursuant to Section 18 shall be deemed to satisfy tire notice and opportunity to take corrective
action provisions of this Section 20.

21. ila?nrdous Sni)stanccs. As used in this Scctiou 2l: (a) "llarardons Substances" are those
substances defined as toxic er hazardous substanccs, pollutantsl or wastes by Environmcntal Law and the
following substances gasoline, keroscnc, other flammable or toxic petroleum products toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde and radioactive snaterials;
(b) "Environrnental Law" means federal laws and laws ol` the jurisdiction where thc l*ropcrt)f is located that
relate to health, safety or environmental protectiou; (c) "Environmental Cleanup" includes any response
action, remedial action1 or removal action, as defined in Environmental Law; and (d] an "Environrncotal
Cendt'tion" means a condition that can canse, contribute to, or otherwise trigger an Environntetttai
Cleanup.

Borrower shall not cause or permit thc presencc, use, disposal, storage, or release of angf Hamrdous
Subslances, or threaten to release any l-laaardous Substances, on or in the Propert_v. Borrowcr shall not do,
nor allow anyone else to do, anything allccting the ?ropcny (a) tltat is in violation oi` any Environmentai
Law, (b) which creates an Enviroruncntal Condition, or (c) \vhicl'r, due to the prcsence, use, or release of a
l~la?ardous Substance, creates a condition that adversely affects the value of the Propcrty. The preceding
two sentences shall not apply to the prcscnce, nse, or storage on the Propert;.' of small quantities of
Haza,rdous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance ol" the l°ropert),r (including, but not limited to, harurrdous substances in consumer products).

Borrower shall promptly give Lcnder written notice of (a) any investigation claim1 demand__ lawsuit
or other action by an;,r governmental or regulatory agenq' or private party involving the Propcrty and any
Hazardous Substance or Environmcntal La\v of which Borro\vcr has actual knowledge (b) any
Environnrcntal Conclition, including but not limited to, arrg.l spiliing, leaking, discharge release or threat oi`
release of any Hazardous Substance, and (c) any condition caused by the prescnce, usc or release of a

}-lazardotts Stzbslance which adversely affects the value ol` the Propert‘_v. lf Borrowcr learns, or is notified
by any governmental or regulatoryr authority, or any private party, that any removal or other remediation
of an_v Hazardous Substance affecting tire Propertv is necessary, Elorrower shall promptly take all necessary
remedial actions in accordance with Environrncntal l..aw. Nothing herein shall create any obligation on :
Lendcr l`or an _Environmerrtal Cleanrrp.

    

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NON-UNIFGRM COVENANTS. Borrower and Lender tanner covenant and agree as foilows:

22. Acceleration; Remedies. Lender shall give notice to Borrower as required by Applicable Law
prior to acceleration following Borron'cr‘s breach ot` any covenant or agreement in this Secnn'ty
Instroment (l)ut not prior to acceleration under Section 18 unless Applieal)le Law provides
otherwise). The notice shall specify: (a) the default; fbi the action required to cure the defau|t; (e) a
date, not less than 35 days from the date the notice is given to Borrower, by which the default must
be eored; {d} that failure to cure the default on or before the date specified in the notice may result in
acceleration of the sums secured by this Seeority Instrument and sale of the P'ropert_v; and (e) any
other information required by Applicable Lan'. Thc notice shall further inform Borrower of the right
to reinstate after acceleration and the right to bring a court action to assert the non-existence ot` a
default or any other defense of Borrower to acceleration and saie. It` the default is not cured nn or
before the date specified in the notice, Lender at its option may require immediate payment in t`uli of
ali sums secured by this Seenrity Instrument without further demand and may invoke the power of
sale and any other remedies permitted by Applieal)lc Law. Lendcr`shail be entitled to collect all costs
end expenses incurred in pursuing the remedies provided in this Seclion 22, ineluc¥ing, hot not limited
to, reasonable attorneys' fees and costs of tide evidence

li` lender invoices tile power oi‘ sale, lender shall give notice in the manner required by
Applicahie Law to Borron'or and any other persons prescribed by Applicahie Law. Lendcr shall aiso
publish the notice of sale, and zile Propert) shall he soid, as prescribed by Apnlieahle Law. Lender or
its designee may purchase the Pro;)ert_v at any sale. The proceeds of the sale shall be applied in the
manner prescribed lay Applieai)le Law.

23. Reiease. Upon payment of ali sums secured by this Security lnstrument, bender shed release this
Secority instrument Borrower shall pay any recordation costs unless Applicabic Law provides otherwise
Londer may charge Borrower o fee for reieasing this Security lnstnzmeni, but onlyr if the fee is paid to a
third pony for services rendered and the charging of the fee is permitted under Applicabie iaw.

24. thiver of Apnraisement. Appmisoment of the Propcrty is waived or not waived at hender
option1 which shall be exercised before or at the time judgment is entered in any foreclosure

25. Assum;)fion Iice. if there is an assumption of this ioan, bender may charge an assumption
fee of U.S. $N/A

26. Notice of Power of Saie. A power of sale has been granted in this Security fostroment. A
power of sale mar allow the Lender to take the Property and seli it without going to court in a
foreclosure action upon defautt by Borrower under this Securitv Instram ent.

 

 

 

   
 

   

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B¥ SIGNING BELGW Borrower accepts and agrees to the tcr"ms and covenants contained irs this

Secnri£"y lnsfrument and` m any Ridcr executed by Bormwcr and recorded with il
Witnesscs: : M

 

 

 

 

 

 

 

 

 

€IGWARD L SEIEW¥AN Ba(rro\\cr

(S@Sl)

'Borrowes~

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-Borrowcr -Borrowur

   

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STATE ()F OKLAHOMA,
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Thc: foregoing inslrumoni Was acknowledged before me lhis Oc:t<
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Loan origination organization BOKE‘, NA DBA Bank of Oklaho:na

NMLSID 000000¢03501
Loan originator Ashley Stephens

NM`_LS ID 000001190475

 

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AFFIDAVIT OF BRET D. DAVIS
IN SUPPORT ()F PLAINTIFF’S MOTION
F()R COSTS AND ATTORNEY FEES

STATE OF OKLAHOMA )

COUNTY OF OKLAHOMA §
Bret D. Davis, being first duly sworn, deposes and states:

l. l ant attorney for BOKF, NA, in this matter, and l represented BOKF, NA in this matter
throughout the pendency of the matter to the present l have personal knowledge
concerning the events of representation ot`Plaintiff in this matter.

2. l spent a total 2.8 hours, but only charged the client a total of $650.()0, for services rendered,
Which. My time entries are represented on Exhibit 3, attached hereto $650.00 is a
customary and reasonable charge for review and preparation of a Proot` of Clairn.

3. Tlie hourly fee charged on this case byrne Was 3275.00, Which was reasonable

4. l have been a member of the Oklahoma bar Since 1993. Since 1993, l have practiced With
the Larnun l\/£ock Cunnyngham & Davis, P.C. law firin, of Which l am a senior partner.

5. The time records attached as Exhibit 3 accurately reflect the time spent by Afl"lant and are

the reasonable value of services in light oi" standards Within the legal community

Further At`t`zant Sayeth Nanght.

 

Bret D. Davis, OBA #l5079

Snbscribed and Sworn to before me, a Notary Public this day of , 2019.

 

Notary Public
l\/Iy Comrnission Expires:

Exnterr “ §§ "

 

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EXHIBIT 3

TIME RECORDS
INRE.' HO WARD LEE SHER WAN.

WESTERN DISTRICT OF OKLAHOMA CASE NO..' 18»]0134-1131.

BDD 2 Brer D. Davis (see Exhz'bz't 3, Ajj‘idavif) @ $2 75.00 per hour

DA'I`E
1/25/18

2/1/18

2/2/18

2/21/18

ACTION TIME ATTORNEY
Plan review, Schedule and Petition Review

Ledger Review in anticipation of Proot` l.G BDD

Of Clairn Preparation

Review Escrow Analysis Loan History .75 BDD
In furtherance of Proof of Claiin
Preparation

Prepare Proof of Claim form With
410A Calcuiations .75 BDD

Final Review of Proot` of Clairn With
410A prior to filing .30

Total Fees Outlined in Motion for Determination of Fees, Expenses or Chargers = {2.8 hrs.
@ 8275.00) x $770.(}0

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